                      Case 2:08-cr-00417-MCE Document 146 Filed 12/08/11 Page 1 of 1
                                   OFFICE OF THE FEDERAL DEFENDER
                                     EASTERN DISTRICT OF CALIFORNIA
                                          801 I STREET, 3rd FLOOR
                                      SACRAMENTO, CALIFORNIA 95814
Daniel J. Broderick                         (916) 498-5700 Fax: (916) 498-5710                  Linda C. Harter
Federal Defender                                                                       Chief Assistant Defender




                                         MEMORANDUM

     DATE:               December 5, 2011

     TO:                 Stephanie Deutsch, Courtroom Clerk to
                         Honorable Morrison C. England

     FROM:               Douglas Beevers, Assistant Federal Defender

     SUBJECT:            USA v. Jose Anquiano, Cr-S-08-417 MCE
                         Continuance of Judgment and Sentencing



            Please continue the judgment and sentencing in the above referenced case from
     December 8, 2011 to January 5, 2012 at 9:00a.m. The continuance is needed to allow the
     parties additional time to investigate matters relating to criminal history.

           The Government, AUSA Jason Hitt and the United States Probation Officer, Casey
     Horner, have no objections to this continuance.

     Thank you for your attention to this matter. Please call with any questions or concerns.


               IT IS SO ORDERED.

      Dated: December 8, 2011


                                                          ______________________________
                                                          MORRISON C. ENGLAND, JR.
                                                          UNITED STATES DISTRICT JUDGE
